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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

                                    )
KELLEN POWELL et al.,               )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )
                                    )              Case No. __________
THE CITY OF ST. ANN,                )
                                    )
            Defendant.              )
___________________________________ )

                                          ORDER


       Upon consideration of Plaintiffs’ Motion for Temporary Restraining Order or in the

Alternative Motion for Preliminary Injunction, it is ORDERED that the motion is GRANTED.

       Defendant St. Ann is ORDERED to release from its custody the named Plaintiff Kellen

Powell, either on his own recognizance or subject to an unsecured bond or other reasonable and

lawful non-financial conditions.

       The City of St. Ann is further ORDERED to release, subject to standard booking

procedures, any other municipal ordinance arrestees in its custody or who that become in its

custody on their own recognizance or on an unsecured bond in a manner consistent with state

and federal law.

       Ordered this ___ day of _______________, 2015.



                                                   ___________________________________



                                                   Hon. __________________, District Judge
